                   Case 1:17-cr-02054-SAB                  ECF No. 1    filed 10/24/17      PageID.1 Page 1 of 5
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                                                                                                         EASTERN DISTRICT OF WASHINGTON

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                                                       Eastern District of Washington
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                                 Defendant

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    'HJUHH GLG NQRZLQJO\ DQG LQWHQWLRQDOO\ UHFHLYH DQG SRVVHVV LQ DQG DIIHFWLQJ FRPPHUFH D ILUHDUP WR ZLW D  JDXJH
    0RVVEHUJ 6KRWJXQ ZKLFK KDG EHHQ VKLSSHG DQG WUDQVSRUWHG LQ LQWHUVWDWH FRPPHUFH




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            ✔
            u &RQWLQXHGRQWKHDWWDFKHGVKHHW



                                                                                               Complainant’s signature

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✔    6ZRUQ WR WHOHSKRQLFDOO\ DQG VLJQHG HOHFWURQLFDOO\                                         Printed name and title

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   /H[XVPDWFKHGWKH GHVFULSWLRQRIDVWROHQYHKLFOHRIZKLFK2IILFHU(QULTXH]

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   DOVRNQHZ&8/36 WREHDQHQUROOHGPHPEHURIWKH&RQIHGHUDWHG%DQGVDQG

   7ULEHVRIWKH<DNDPD1DWLRQDPHPEHURIWKH³(DVW6LGH3LUX´FULPLQDO

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Case 1:17-cr-02054-SAB     ECF No. 1    filed 10/24/17   PageID.3 Page 3 of 5



 (YHQWXDOO\WKH/H[XVSRSSHGD UHDUWLUHDQGFDPH WRDVWRS&8/36 H[LWHG

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   WKH YHKLFOH2IILFHU(QULTXH] ORFDWHGPXOWLSOHURXQGVRIDPPXQLWLRQ

   LQFOXGLQJ VHYHQURXQGV
Case 1:17-cr-02054-SAB     ECF No. 1   filed 10/24/17   PageID.4 Page 4 of 5



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   /XFHL KDGKDQGOHG WKH ZHDSRQVDQGDPPXQLWLRQDIWHUHQWHULQJ WKHYHKLFOH

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 &8/36KDV SULRUIHORQ\ FRQYLFWLRQLQERWK6WDWHDQG)HGHUDO&RXUW

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                &RXQW\6XSHULRU &RXUW
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